OPINION — AG — ** APPOINTMENTS — APPROVAL — ASSISTANT COUNTY ATTORNEYS ** (1)  THE BOARD OF COUNTY COMMISSIONERS HAS THE DUTY AND AUTHORITY TO APPROVE THE NUMBER OF POSITIONS WHICH THE COUNTY ATTORNEY (DISTRICT ATTORNEY) SHALL HAVE IN OFFICE (WITH CERTAIN EXCEPTIONS NOT APPLICABLE HERE), BUT THAT THE BOARD OF COUNTY COMMISSIONERS HAVE NO AUTHORITY TO APPROVE OR DISAPPROVE THE APPOINTMENT OF A PARTICULAR INDIVIDUAL TO ANY OF SUCH POSITIONS. (2) THE SALARY OF AN ASSISTANT COUNTY ATTORNEY OF DELAWARE COUNTY (ASSUMING ONE OR MORE ASSISTANT COUNTY ATTORNEYS ARE APPROVED OR APPOINTED) IS AN AMOUNT " NOT TO EXCEED 90% OF THE SALARY OF THE COUNTY ATTORNEY, WHICH AMOUNT SHALL BE FIXED BY THE COUNTY ATTORNEY, AND THE BOARD OF COUNTY COMMISSIONERS. (SALARIES, VACANCIES, POSITIONS) CITE: 19 O.S. 179.4 [19-179.4], 19 O.S. 180.65 [19-180.65] [19-180.65], 19 O.S. 179.7 [19-179.7] (JAMES P. GARRETT)